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             Generated on: This page was generated by TSDR on 2015-06-16 16:38:47 EDT
                      Mark: JACK DANIEL JACK DANIEL




        US Serial Number: 85018906                                                      Application Filing Date: Apr. 20, 2010
 US Registration Number: 4106178                                                              Registration Date: Feb. 28, 2012
                  Register: Principal
                Mark Type: Trademark
                    Status: Registered. The registration date is used to determine when post-registration maintenance documents are due.
               Status Date: Feb. 28, 2012
         Publication Date: Nov. 02, 2010                                             Notice of Allowance Date: Dec. 28, 2010



                                                                  Mark Information
    Mark Literal Elements: JACK DANIEL JACK DANIEL
Standard Character Claim: No
      Mark Drawing Type: 3 - AN ILLUSTRATION DRAWING WHICH INCLUDES WORD(S)/ LETTER(S)/NUMBER(S)
      Description of Mark: The mark consists of the three-dimensional configuration of the square shaped bottle container for the goods, having an embossed
                           ridge or scalloped design on the neck portion of the bottle, and an embossed signature design comprised of the words "JACK
                           DANIEL".
         Color(s) Claimed: Color is not claimed as a feature of the mark.
  Design Search Code(s): 19.09.03 - Bottles, jars or flasks with straight, vertical sides; Jars with straight or vertical sides; Flasks with straight or vertical sides
   Name Portrait Consent: The name(s), portrait(s), and/or signature(s) shown in the mark does not identify a particular living individual.

                                                                 Goods and Services
Note: The following symbols indicate that the registrant/owner has amended the goods/services:

              Brackets [..] indicate deleted goods/services;
              Double parenthesis ((..)) identify any goods/services not claimed in a Section 15 affidavit of incontestability; and
              Asterisks *..* identify additional (new) wording in the goods/services.

                        For: Alcoholic beverages, namely, distilled spirits
   International Class(es): 033 - Primary Class                                                   U.S Class(es): 047, 049
              Class Status: ACTIVE
                     Basis: 1(a)
                 First Use: Jun. 30, 2011                                                     Use in Commerce: Jun. 30, 2011

                                                      Basis Information (Case Level)

                                                                                                                                                            JDPI003144
            Case 2:14-cv-02057-SMM                          Document 224-2                 Filed 10/19/17              Page 3 of 68


             Filed Use: No                                Currently Use: Yes                            Amended Use: No
              Filed ITU: Yes                              Currently ITU: No                                 Amended ITU: No
             Filed 44D: No                                Currently 44D: No                             Amended 44D: No
             Filed 44E: No                                Currently 44E: No                             Amended 44E: No
             Filed 66A: No                                Currently 66A: No
         Filed No Basis: No                         Currently No Basis: No

                                                 Current Owner(s) Information
             Owner Name: Jack Daniel's Properties, Inc.
           Owner Address: Suite 528
                          4040 Civic Center Drive
                          San Rafael, CALIFORNIA 94903
                          UNITED STATES
         Legal Entity Type: CORPORATION                                        State or Country Where DELAWARE
                                                                                           Organized:

                                          Attorney/Correspondence Information
                                                                   Attorney of Record
           Attorney Name: David S. Gooder                                            Docket Number: 18125
  Attorney Primary Email jdpilegal@jdpi.com                                             Attorney Email No
               Address:                                                                    Authorized:
                                                                     Correspondent
            Correspondent DAVID S. GOODER
            Name/Address: JACK DANIEL'S PROPERTIES, INC.
                          4040 CIVIC CENTER DR STE 528
                          SAN RAFAEL, CALIFORNIA 94903-4191
                          UNITED STATES
                   Phone: 415-446-5225                                                           Fax: 415-446-5230
   Correspondent e-mail: jdpilegal@jdpi.com                                     Correspondent e-mail Yes
                                                                                        Authorized:
                                                           Domestic Representative - Not Found

                                                           Prosecution History
                                                                                                                                  Proceeding
  Date                    Description
                                                                                                                                  Number

Feb. 28, 2012           REGISTERED-PRINCIPAL REGISTER
Jan. 25, 2012           NOTICE OF ACCEPTANCE OF STATEMENT OF USE E-MAILED
Jan. 24, 2012           LAW OFFICE REGISTRATION REVIEW COMPLETED                                                                70138
Jan. 18, 2012           ALLOWED PRINCIPAL REGISTER - SOU ACCEPTED
Dec. 19, 2011           STATEMENT OF USE PROCESSING COMPLETE                                                                    76873
Dec. 17, 2011           USE AMENDMENT FILED                                                                                     76873
Dec. 17, 2011           TEAS STATEMENT OF USE RECEIVED
Jun. 04, 2011           NOTICE OF APPROVAL OF EXTENSION REQUEST E-MAILED
Jun. 03, 2011           EXTENSION 1 GRANTED                                                                                     76873
May 30, 2011            EXTENSION 1 FILED                                                                                       76873
Jun. 02, 2011           CASE ASSIGNED TO INTENT TO USE PARALEGAL                                                                76873
May 30, 2011            TEAS EXTENSION RECEIVED
Dec. 28, 2010           NOA E-MAILED - SOU REQUIRED FROM APPLICANT
Nov. 02, 2010           OFFICIAL GAZETTE PUBLICATION CONFIRMATION E-MAILED
Nov. 02, 2010           PUBLISHED FOR OPPOSITION
Sep. 24, 2010           LAW OFFICE PUBLICATION REVIEW COMPLETED                                                                 70138
Sep. 22, 2010           ASSIGNED TO LIE                                                                                         70138
Sep. 15, 2010           APPROVED FOR PUB - PRINCIPAL REGISTER
Sep. 14, 2010           TEAS/EMAIL CORRESPONDENCE ENTERED                                                                       88889
Sep. 14, 2010           CORRESPONDENCE RECEIVED IN LAW OFFICE                                                                   88889


                                                                                                                                 JDPI003145
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Sep. 14, 2010      TEAS RESPONSE TO OFFICE ACTION RECEIVED
Aug. 03, 2010      NOTIFICATION OF NON-FINAL ACTION E-MAILED                                                               6325
Aug. 03, 2010      NON-FINAL ACTION E-MAILED                                                                               6325
Aug. 03, 2010      NON-FINAL ACTION WRITTEN                                                                                76151
Jul. 28, 2010      ASSIGNED TO EXAMINER                                                                                    76151
Apr. 27, 2010      NOTICE OF DESIGN SEARCH CODE MAILED
Apr. 26, 2010      NEW APPLICATION OFFICE SUPPLIED DATA ENTERED IN TRAM
Apr. 23, 2010      NEW APPLICATION ENTERED IN TRAM
                                     TM Staff and Location Information
                                                         TM Staff Information - None
                                                                File Location
       Current Location: PUBLICATION AND ISSUE SECTION                          Date in Location: Jan. 24, 2012




                                                                                                                            JDPI003146
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                                                                     JDPI003147
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                                                                     JDPI003148
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From:               TMOfficialNotices@USPTO.GOV
Sent:               Wednesday, January 25, 2012 00:11 AM
To:                 jdpilegal@jdpi.com
Subject:            Trademark Serial Number 85018906 : Official USPTO Notice of Acceptance of Statement of Use


                           NOTICE OF ACCEPTANCE OF STATEMENT OF USE

Serial Number: 85-018,906
Mark: JACK DANIEL JACK DANIEL(STYLIZED/DESIGN)
Owner: Jack Daniel's Properties, Inc.
Reference Number: 18125


The USPTO has accepted the Statement of Use filed for the trademark application identified above. The mark will now register
and the registration certificate will issue in due course barring any extraordinary circumstances.


For further information, including information on filing and maintenance requirements for U.S. trademark applications and
registrations and required fees, please consult the USPTO website at www.uspto.gov or call the Trademark Assistance Center
at 1-800-786-9199.


To check the status of an application, go to http://tarr.uspto.gov/.




                                                                                                                 JDPI003149
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                     Trademark Snap Shot Publication & Issue Review Stylesheet
                           (Table presents the data on Publication & Issue Review Complete)



                                                   OVERVIEW
SERIAL NUMBER                         85018906              FILING DATE                             04/20/2010

REG NUMBER                             0000000              REG DATE                                   N/A

REGISTER                             PRINCIPAL              MARK TYPE                              TRADEMARK

INTL REG #                                N/A               INTL REG DATE                              N/A

TM ATTORNEY                       WILLIS, PAMELA Y          L.O. ASSIGNED                              106



                                               PUB INFORMATION
RUN DATE                     01/25/2012

PUB DATE                     11/02/2010

STATUS                       819-SU - REGISTRATION REVIEW COMPLETE

STATUS DATE                  01/24/2012

LITERAL MARK ELEMENT         JACK DANIEL JACK DANIEL


DATE ABANDONED                            N/A               DATE CANCELLED                             N/A

SECTION 2F                                NO                SECTION 2F IN PART                         NO

SECTION 8                                 NO                SECTION 8 IN PART                          NO

SECTION 15                                NO                REPUB 12C                                  N/A

RENEWAL FILED                             NO                RENEWAL DATE                               N/A

DATE AMEND REG                            N/A



                                                  FILING BASIS
             FILED BASIS                          CURRENT BASIS                               AMENDED BASIS

1 (a)                      NO          1 (a)                       YES           1 (a)                       NO

1 (b)                      YES         1 (b)                       NO            1 (b)                       NO

44D                        NO          44D                         NO            44D                         NO

44E                        NO          44E                         NO            44E                         NO

66A                        NO          66A                         NO

NO BASIS                   NO          NO BASIS                    NO



                                                  MARK DATA
STANDARD CHARACTER MARK                                     NO

LITERAL MARK ELEMENT                                        JACK DANIEL JACK DANIEL



                                                                                                              JDPI003150
         Case 2:14-cv-02057-SMM            Document 224-2            Filed 10/19/17           Page 9 of 68

MARK DRAWING CODE                                        3-AN ILLUSTRATION DRAWING WHICH INCLUDES
                                                         WORD(S)/LETTER(S)/NUMBER(S)

COLOR DRAWING FLAG                                       NO



                                CURRENT OWNER INFORMATION
PARTY TYPE                                               20-OWNER AT PUBLICATION

NAME                                                     Jack Daniel's Properties, Inc.

ADDRESS                                                  Suite 528
                                                         4040 Civic Center Drive
                                                         San Rafael, CA 94903

ENTITY                                                   03-CORPORATION

CITIZENSHIP                                              Delaware



                                        GOODS AND SERVICES
INTERNATIONAL CLASS                                      033

       DESCRIPTION TEXT                                  Alcoholic beverages, namely, distilled spirits




                          GOODS AND SERVICES CLASSIFICATION
INTERNATIONAL 033              FIRST USE    06/30/2011     FIRST USE 06/30/2011            CLASS          6-ACTIVE
CLASS                          DATE                        IN                              STATUS
                                                           COMMERCE
                                                           DATE



                      MISCELLANEOUS INFORMATION/STATEMENTS
CHANGE IN REGISTRATION                                   NO

COLORS CLAIMED STATEMENT                                 Color is not claimed as a feature of the mark.

DESCRIPTION OF MARK                                      The mark consists of the three-dimensional configuration of
                                                         the square shaped bottle container for the goods, having an
                                                         embossed ridge or scalloped design on the neck portion of
                                                         the bottle, and an embossed signature design comprised of
                                                         the words "JACK DANIEL".

NAME/PORTRAIT DESC/CONSENT                               The name(s), portrait(s), and/or signature(s) shown in the
                                                         mark does not identify a particular living individual.



                                        PROSECUTION HISTORY
DATE                  ENT CD       ENT      DESCRIPTION                                                     ENT NUM
                                  TYPE

01/25/2012            SUNA          E       NOTICE OF ACCEPTANCE OF STATEMENT OF USE E-                         027
                                            MAILED

01/24/2012            REGV          O       LAW OFFICE REGISTRATION REVIEW COMPLETED                            026

01/18/2012            CNPR          P       ALLOWED PRINCIPAL REGISTER - SOU ACCEPTED                           025

12/19/2011            SUPC          I       STATEMENT OF USE PROCESSING COMPLETE                                024


                                                                                                            JDPI003151
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12/17/2011         IUAF     S    USE AMENDMENT FILED                                       023

12/17/2011         EISU     I    TEAS STATEMENT OF USE RECEIVED                            022

06/04/2011         EXRA     E    NOTICE OF APPROVAL OF EXTENSION REQUEST E-                021
                                 MAILED

06/03/2011         EX1G     S    EXTENSION 1 GRANTED                                       020

05/30/2011         EXT1     S    EXTENSION 1 FILED                                         019

06/02/2011         AITU     A    CASE ASSIGNED TO INTENT TO USE PARALEGAL                  018

05/30/2011         EEXT     I    TEAS EXTENSION RECEIVED                                   017

12/28/2010         NOAM     E    NOA E-MAILED - SOU REQUIRED FROM APPLICANT                016

11/02/2010         NPUB     E    OFFICIAL GAZETTE PUBLICATION CONFIRMATION E-              015
                                 MAILED

11/02/2010         PUBO     A    PUBLISHED FOR OPPOSITION                                  014

09/24/2010         PREV     O    LAW OFFICE PUBLICATION REVIEW COMPLETED                   013

09/22/2010         ALIE     A    ASSIGNED TO LIE                                           012

09/15/2010         CNSA     P    APPROVED FOR PUB - PRINCIPAL REGISTER                     011

09/14/2010         TEME     I    TEAS/EMAIL CORRESPONDENCE ENTERED                         010

09/14/2010         CRFA     I    CORRESPONDENCE RECEIVED IN LAW OFFICE                     009

09/14/2010         TROA     I    TEAS RESPONSE TO OFFICE ACTION RECEIVED                   008

08/03/2010         GNRN     O    NOTIFICATION OF NON-FINAL ACTION E-MAILED                 007

08/03/2010         GNRT     F    NON-FINAL ACTION E-MAILED                                 006

08/03/2010         CNRT     R    NON-FINAL ACTION WRITTEN                                  005

07/28/2010         DOCK     D    ASSIGNED TO EXAMINER                                      004

04/27/2010         MDSC     O    NOTICE OF DESIGN SEARCH CODE MAILED                       003

04/26/2010         NWOS     I    NEW APPLICATION OFFICE SUPPLIED DATA ENTERED              002
                                 IN TRAM

04/23/2010         NWAP     I    NEW APPLICATION ENTERED IN TRAM                           001



                    CURRENT CORRESPONDENCE INFORMATION
ATTORNEY                                  David S. Gooder

CORRESPONDENCE ADDRESS                    DAVID S. GOODER
                                          JACK DANIEL'S PROPERTIES, INC.
                                          4040 CIVIC CENTER DR STE 528
                                          SAN RAFAEL, CA 94903-4191

DOMESTIC REPRESENTATIVE                   NONE



                          PRIOR OWNER INFORMATION
PARTY TYPE                                10-ORIGINAL APPLICANT

NAME                                      Jack Daniel's Properties, Inc.

ADDRESS                                   Suite 528


                                                                                      JDPI003152
     Case 2:14-cv-02057-SMM   Document 224-2      Filed 10/19/17   Page 11 of 68

                                       4040 Civic Center Drive
                                       San Rafael, CA 94903

ENTITY                                 03-CORPORATION

CITIZENSHIP                            Delaware




                                                                              JDPI003153
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                                                                      JDPI003154
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                                 Trademark Snap Shot Publication Stylesheet
                                    (Table presents the data on Publication Approval)



                                                   OVERVIEW
SERIAL NUMBER                          85018906              FILING DATE                         04/20/2010

REG NUMBER                              0000000              REG DATE                               N/A

REGISTER                              PRINCIPAL              MARK TYPE                          TRADEMARK

INTL REG #                                 N/A               INTL REG DATE                          N/A

TM ATTORNEY                        WILLIS, PAMELA Y          L.O. ASSIGNED                          106



                                                PUB INFORMATION
RUN DATE                     01/19/2012

PUB DATE                     11/02/2010

STATUS                       818-SU - STATEMENT OF USE ACCEPTED - APPROVED FOR REGISTRATION

STATUS DATE                  01/18/2012

LITERAL MARK ELEMENT         JACK DANIEL JACK DANIEL


DATE ABANDONED                             N/A               DATE CANCELLED                         N/A

SECTION 2F                                 NO                SECTION 2F IN PART                     NO

SECTION 8                                  NO                SECTION 8 IN PART                      NO

SECTION 15                                 NO                REPUB 12C                              N/A

RENEWAL FILED                              NO                RENEWAL DATE                           N/A

DATE AMEND REG                             N/A



                                                  FILING BASIS
             FILED BASIS                           CURRENT BASIS                           AMENDED BASIS

1 (a)                      NO           1 (a)                        YES           1 (a)                  NO

1 (b)                      YES          1 (b)                        NO            1 (b)                  NO

44D                        NO           44D                          NO            44D                    NO

44E                        NO           44E                          NO            44E                    NO

66A                        NO           66A                          NO

NO BASIS                   NO           NO BASIS                     NO



                                                   MARK DATA
STANDARD CHARACTER MARK                                      NO

LITERAL MARK ELEMENT                                         JACK DANIEL JACK DANIEL



                                                                                                           JDPI003155
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MARK DRAWING CODE                                          3-AN ILLUSTRATION DRAWING WHICH INCLUDES
                                                           WORD(S)/LETTER(S)/NUMBER(S)

COLOR DRAWING FLAG                                         NO



                                  CURRENT OWNER INFORMATION
PARTY TYPE                                                 20-OWNER AT PUBLICATION

NAME                                                       Jack Daniel's Properties, Inc.

ADDRESS                                                    Suite 528
                                                           4040 Civic Center Drive
                                                           San Rafael, CA 94903

ENTITY                                                     03-CORPORATION

CITIZENSHIP                                                Delaware



                                          GOODS AND SERVICES
INTERNATIONAL CLASS                                        033

       DESCRIPTION TEXT                                    Alcoholic beverages, namely, distilled spirits




                             GOODS AND SERVICES CLASSIFICATION
INTERNATIONAL 033                FIRST USE    06/30/2011     FIRST USE 06/30/2011            CLASS          6-ACTIVE
CLASS                            DATE                        IN                              STATUS
                                                             COMMERCE
                                                             DATE



                      MISCELLANEOUS INFORMATION/STATEMENTS
CHANGE IN REGISTRATION                                     NO

COLORS CLAIMED STATEMENT                                   Color is not claimed as a feature of the mark.

DESCRIPTION OF MARK                                        The mark consists of the three-dimensional configuration of
                                                           the square shaped bottle container for the goods, having an
                                                           embossed ridge or scalloped design on the neck portion of
                                                           the bottle, and an embossed signature design comprised of
                                                           the words "JACK DANIEL".

NAME/PORTRAIT DESC/CONSENT                                 The name(s), portrait(s), and/or signature(s) shown in the
                                                           mark does not identify a particular living individual.



                                          PROSECUTION HISTORY
DATE                  ENT CD         ENT      DESCRIPTION                                                     ENT NUM
                                    TYPE

01/18/2012            CNPR            P       ALLOWED PRINCIPAL REGISTER - SOU ACCEPTED                           025

12/19/2011            SUPC            I       STATEMENT OF USE PROCESSING COMPLETE                                024

12/17/2011                IUAF        S       USE AMENDMENT FILED                                                 023

12/17/2011                EISU        I       TEAS STATEMENT OF USE RECEIVED                                      022



                                                                                                              JDPI003156
       Case 2:14-cv-02057-SMM   Document 224-2       Filed 10/19/17        Page 15 of 68

06/04/2011         EXRA     E    NOTICE OF APPROVAL OF EXTENSION REQUEST E-                021
                                 MAILED

06/03/2011         EX1G     S    EXTENSION 1 GRANTED                                       020

05/30/2011         EXT1     S    EXTENSION 1 FILED                                         019

06/02/2011         AITU     A    CASE ASSIGNED TO INTENT TO USE PARALEGAL                  018

05/30/2011         EEXT     I    TEAS EXTENSION RECEIVED                                   017

12/28/2010         NOAM     E    NOA E-MAILED - SOU REQUIRED FROM APPLICANT                016

11/02/2010         NPUB     E    OFFICIAL GAZETTE PUBLICATION CONFIRMATION E-              015
                                 MAILED

11/02/2010         PUBO     A    PUBLISHED FOR OPPOSITION                                  014

09/24/2010         PREV     O    LAW OFFICE PUBLICATION REVIEW COMPLETED                   013

09/22/2010         ALIE     A    ASSIGNED TO LIE                                           012

09/15/2010         CNSA     P    APPROVED FOR PUB - PRINCIPAL REGISTER                     011

09/14/2010         TEME     I    TEAS/EMAIL CORRESPONDENCE ENTERED                         010

09/14/2010         CRFA     I    CORRESPONDENCE RECEIVED IN LAW OFFICE                     009

09/14/2010         TROA     I    TEAS RESPONSE TO OFFICE ACTION RECEIVED                   008

08/03/2010         GNRN     O    NOTIFICATION OF NON-FINAL ACTION E-MAILED                 007

08/03/2010         GNRT     F    NON-FINAL ACTION E-MAILED                                 006

08/03/2010         CNRT     R    NON-FINAL ACTION WRITTEN                                  005

07/28/2010         DOCK     D    ASSIGNED TO EXAMINER                                      004

04/27/2010         MDSC     O    NOTICE OF DESIGN SEARCH CODE MAILED                       003

04/26/2010         NWOS     I    NEW APPLICATION OFFICE SUPPLIED DATA ENTERED              002
                                 IN TRAM

04/23/2010         NWAP     I    NEW APPLICATION ENTERED IN TRAM                           001



                    CURRENT CORRESPONDENCE INFORMATION
ATTORNEY                                  David S. Gooder

CORRESPONDENCE ADDRESS                    DAVID S. GOODER
                                          JACK DANIEL'S PROPERTIES, INC.
                                          4040 CIVIC CENTER DR STE 528
                                          SAN RAFAEL, CA 94903-4191

DOMESTIC REPRESENTATIVE                   NONE



                          PRIOR OWNER INFORMATION
PARTY TYPE                                10-ORIGINAL APPLICANT

NAME                                      Jack Daniel's Properties, Inc.

ADDRESS                                   Suite 528
                                          4040 Civic Center Drive
                                          San Rafael, CA 94903

ENTITY                                    03-CORPORATION



                                                                                      JDPI003157
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CITIZENSHIP                            Delaware




                                                                              JDPI003158
Case 2:14-cv-02057-SMM   Document 224-2   Filed 10/19/17   Page 17 of 68




                                                                      JDPI003159
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                                 Trademark Snap Shot ITU Unit Action
                                    (Table presents the data on ITU Unit Action)



                                                 OVERVIEW
SERIAL NUMBER                        85018906              FILING DATE                           04/20/2010

REG NUMBER                            0000000              REG DATE                                 N/A

REGISTER                            PRINCIPAL              MARK TYPE                            TRADEMARK

INTL REG #                                N/A              INTL REG DATE                            N/A

TM ATTORNEY                      WILLIS, PAMELA Y          L.O. ASSIGNED                            106



                                             PUB INFORMATION
RUN DATE                     12/20/2011

PUB DATE                     11/02/2010

STATUS                       748-STATEMENT OF USE - TO EXAMINER

STATUS DATE                  12/19/2011

LITERAL MARK ELEMENT         JACK DANIEL JACK DANIEL


DATE ABANDONED                            N/A              DATE CANCELLED                           N/A

SECTION 2F                                NO               SECTION 2F IN PART                       NO

SECTION 8                                 NO               SECTION 8 IN PART                        NO

SECTION 15                                NO               REPUB 12C                                N/A

RENEWAL FILED                             NO               RENEWAL DATE                             N/A

DATE AMEND REG                            N/A



                                                FILING BASIS
             FILED BASIS                        CURRENT BASIS                              AMENDED BASIS

1 (a)                      NO        1 (a)                         NO              1 (a)                  NO

1 (b)                      YES       1 (b)                        YES              1 (b)                  NO

44D                        NO        44D                           NO              44D                    NO

44E                        NO        44E                           NO              44E                    NO

66A                        NO        66A                           NO

NO BASIS                   NO        NO BASIS                      NO



                                                MARK DATA
STANDARD CHARACTER MARK                                    NO

LITERAL MARK ELEMENT                                       JACK DANIEL JACK DANIEL



                                                                                                           JDPI003160
       Case 2:14-cv-02057-SMM                Document 224-2           Filed 10/19/17           Page 19 of 68

MARK DRAWING CODE                                          3-AN ILLUSTRATION DRAWING WHICH INCLUDES
                                                           WORD(S)/LETTER(S)/NUMBER(S)

COLOR DRAWING FLAG                                         NO



                                  CURRENT OWNER INFORMATION
PARTY TYPE                                                 20-OWNER AT PUBLICATION

NAME                                                       Jack Daniel's Properties, Inc.

ADDRESS                                                    Suite 528
                                                           4040 Civic Center Drive
                                                           San Rafael, CA 94903

ENTITY                                                     03-CORPORATION

CITIZENSHIP                                                Delaware



                                          GOODS AND SERVICES
INTERNATIONAL CLASS                                        033

       DESCRIPTION TEXT                                    Alcoholic beverages, namely, distilled spirits




                             GOODS AND SERVICES CLASSIFICATION
INTERNATIONAL 033                FIRST USE    06/30/2011     FIRST USE 06/30/2011            CLASS          6-ACTIVE
CLASS                            DATE                        IN                              STATUS
                                                             COMMERCE
                                                             DATE



                      MISCELLANEOUS INFORMATION/STATEMENTS
CHANGE IN REGISTRATION                                     NO

COLORS CLAIMED STATEMENT                                   Color is not claimed as a feature of the mark.

DESCRIPTION OF MARK                                        The mark consists of the three-dimensional configuration of
                                                           the square shaped bottle container for the goods, having an
                                                           embossed ridge or scalloped design on the neck portion of
                                                           the bottle, and an embossed signature design comprised of
                                                           the words "JACK DANIEL".

NAME/PORTRAIT DESC/CONSENT                                 The name(s), portrait(s), and/or signature(s) shown in the
                                                           mark does not identify a particular living individual.



                                          PROSECUTION HISTORY
DATE                  ENT CD         ENT      DESCRIPTION                                                     ENT NUM
                                    TYPE

12/19/2011            SUPC            I       STATEMENT OF USE PROCESSING COMPLETE                                024

12/17/2011                IUAF        S       USE AMENDMENT FILED                                                 023

12/17/2011                EISU        I       TEAS STATEMENT OF USE RECEIVED                                      022

06/04/2011            EXRA            E       NOTICE OF APPROVAL OF EXTENSION REQUEST E-                          021
                                              MAILED


                                                                                                              JDPI003161
       Case 2:14-cv-02057-SMM   Document 224-2       Filed 10/19/17        Page 20 of 68


06/03/2011         EX1G     S    EXTENSION 1 GRANTED                                       020

05/30/2011         EXT1     S    EXTENSION 1 FILED                                         019

06/02/2011         AITU     A    CASE ASSIGNED TO INTENT TO USE PARALEGAL                  018

05/30/2011         EEXT     I    TEAS EXTENSION RECEIVED                                   017

12/28/2010         NOAM     E    NOA E-MAILED - SOU REQUIRED FROM APPLICANT                016

11/02/2010         NPUB     E    OFFICIAL GAZETTE PUBLICATION CONFIRMATION E-              015
                                 MAILED

11/02/2010         PUBO     A    PUBLISHED FOR OPPOSITION                                  014

09/24/2010         PREV     O    LAW OFFICE PUBLICATION REVIEW COMPLETED                   013

09/22/2010         ALIE     A    ASSIGNED TO LIE                                           012

09/15/2010         CNSA     P    APPROVED FOR PUB - PRINCIPAL REGISTER                     011

09/14/2010         TEME     I    TEAS/EMAIL CORRESPONDENCE ENTERED                         010

09/14/2010         CRFA     I    CORRESPONDENCE RECEIVED IN LAW OFFICE                     009

09/14/2010         TROA     I    TEAS RESPONSE TO OFFICE ACTION RECEIVED                   008

08/03/2010         GNRN     O    NOTIFICATION OF NON-FINAL ACTION E-MAILED                 007

08/03/2010         GNRT     F    NON-FINAL ACTION E-MAILED                                 006

08/03/2010         CNRT     R    NON-FINAL ACTION WRITTEN                                  005

07/28/2010         DOCK     D    ASSIGNED TO EXAMINER                                      004

04/27/2010         MDSC     O    NOTICE OF DESIGN SEARCH CODE MAILED                       003

04/26/2010         NWOS     I    NEW APPLICATION OFFICE SUPPLIED DATA ENTERED              002
                                 IN TRAM

04/23/2010         NWAP     I    NEW APPLICATION ENTERED IN TRAM                           001



                    CURRENT CORRESPONDENCE INFORMATION
ATTORNEY                                  David S. Gooder

CORRESPONDENCE ADDRESS                    DAVID S. GOODER
                                          JACK DANIEL'S PROPERTIES, INC.
                                          4040 CIVIC CENTER DR STE 528
                                          SAN RAFAEL, CA 94903-4191

DOMESTIC REPRESENTATIVE                   NONE



                          PRIOR OWNER INFORMATION
PARTY TYPE                                10-ORIGINAL APPLICANT

NAME                                      Jack Daniel's Properties, Inc.

ADDRESS                                   Suite 528
                                          4040 Civic Center Drive
                                          San Rafael, CA 94903

ENTITY                                    03-CORPORATION

CITIZENSHIP                               Delaware



                                                                                      JDPI003162
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                                                                      JDPI003163
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                                                                     JDPI003164
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PTO Form 1553 (Rev 9/2005)
OMB No. 0651-0054 (Exp. 10/31/2017)


                             Trademark/Service Mark Statement of Use
                                   (15 U.S.C. Section 1051(d))


                                      The table below presents the data as entered.

                             Input Field                                     Entered
         SERIAL NUMBER                               85018906
         LAW OFFICE ASSIGNED                         LAW OFFICE 106
         EXTENSION OF USE                            NO
         MARK SECTION

         MARK
                                                     JACK DANIEL JACK DANIEL (stylized and/or with
                                                     design)
         OWNER SECTION (current)
         NAME                                        Jack Daniel's Properties, Inc.
         STREET                                      Suite 528
         CITY                                        San Rafael
         STATE                                       California
         ZIP/POSTAL CODE                             94903
         COUNTRY                                     United States
         PHONE                                       415-446-5225
         FAX                                         415-446-5230
         EMAIL                                       jdpilegal@jdpi.com
         OWNER SECTION (proposed)
         NAME                                        Jack Daniel's Properties, Inc.
         STREET                                      4040 Civic Center Drive, Suite 528
         CITY                                        San Rafael
         STATE                                       California
         ZIP/POSTAL CODE                             94903
         COUNTRY                                     United States
         PHONE

                                                                                                     JDPI003165
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PHONE                          415-446-5225
FAX                            415-446-5230
EMAIL                          jdpilegal@jdpi.com
GOODS AND/OR SERVICES SECTION
INTERNATIONAL CLASS            033
CURRENT IDENTIFICATION         Alcoholic beverages, namely, distilled spirits
GOODS OR SERVICES              KEEP ALL LISTED
FIRST USE ANYWHERE DATE        06/30/2011
FIRST USE IN COMMERCE DATE     06/30/2011
                               \\TICRS\EXPORT11\IMAGEOUT
SPECIMEN FILE NAME(S)
                               11\850\189\85018906\xml12 \SOU0002.JPG
SPECIMEN DESCRIPTION           Digital photograph of the bottle containing the goods
REQUEST TO DIVIDE              NO
PAYMENT SECTION
NUMBER OF CLASSES IN USE       1
SUBTOTAL AMOUNT [ALLEGATION
OF USE FEE]
                               100

TOTAL AMOUNT                   100
SIGNATURE SECTION
DECLARATION SIGNATURE          /David S. Gooder/
SIGNATORY'S NAME               David S. Gooder
SIGNATORY'S POSITION           Chief Trademark Counsel
DATE SIGNED                    12/17/2011
FILING INFORMATION
SUBMIT DATE                    Sat Dec 17 13:00:04 EST 2011
                               USPTO/SOU-12.154.100.33-2
                               0111217130004562597-85018
TEAS STAMP                     906-4908fa21ad51cbdadb0b1
                               8b7ee7a9fa8ae4-DA-7542-20
                               111217123626147075




                                                                                  JDPI003166
           Case 2:14-cv-02057-SMM               Document 224-2     Filed 10/19/17   Page 25 of 68

PTO Form 1553 (Rev 9/2005)
OMB No. 0651-0054 (Exp. 10/31/2017)




                                      Trademark/Service Mark Statement of Use
                                            (15 U.S.C. Section 1051(d))
To the Commissioner for Trademarks:

MARK: JACK DANIEL JACK DANIEL (stylized and/or with design)
SERIAL NUMBER: 85018906



The applicant, Jack Daniel's Properties, Inc., having an address of
    4040 Civic Center Drive, Suite 528
    San Rafael, California 94903
    United States
is submitting the following allegation of use information:

For International Class 033:
Current identification: Alcoholic beverages, namely, distilled spirits

The mark is in use in commerce on or in connection with all goods or services listed in the application or
Notice of Allowance or as subsequently modified for this specific class

The mark was first used by the applicant, or the applicant's related company, licensee, or predecessor in
interest at least as early as 06/30/2011, and first used in commerce at least as early as 06/30/2011, and is
now in use in such commerce. The applicant is submitting one specimen for the class showing the mark as
used in commerce on or in connection with any item in the class, consisting of a(n) Digital photograph of
the bottle containing the goods.
Specimen File1


The applicant is not filing a Request to Divide with this Allegation of Use form.


A fee payment in the amount of $100 will be submitted with the form, representing payment for the
allegation of use for 1 class.


                                                     Declaration

Applicant requests registration of the above-identified trademark/service mark in the United States Patent
and Trademark Office on the Principal Register established by the Act of July 5, 1946 (15 U.S.C. Section
1051 et seq., as amended). Applicant is the owner of the mark sought to be registered, and is using the
mark in commerce on or in connection with the goods/services identified above, as evidenced by the
attached specimen(s) showing the mark as used in commerce.



                                                                                                  JDPI003167
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The undersigned, being hereby warned that willful false statements and the like so made are punishable by
fine or imprisonment, or both, under 18 U.S.C. Section 1001, and that such willful false statements may
jeopardize the validity of the form or any resulting registration, declares that he/she is properly authorized
to execute this form on behalf of the applicant; he/she believes the applicant to be the owner of the
trademark/service mark sought to be registered; and that all statements made of his/her own knowledge
are true; and that all statements made on information and belief are believed to be true.


Signature: /David S. Gooder/     Date Signed: 12/17/2011
Signatory's Name: David S. Gooder
Signatory's Position: Chief Trademark Counsel

RAM Sale Number: 7542
RAM Accounting Date: 12/19/2011

Serial Number: 85018906
Internet Transmission Date: Sat Dec 17 13:00:04 EST 2011
TEAS Stamp: USPTO/SOU-12.154.100.33-2011121713000456
2597-85018906-4908fa21ad51cbdadb0b18b7ee
7a9fa8ae4-DA-7542-20111217123626147075




                                                                                                   JDPI003168
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                                                                     JDPI003169
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                                                                     JDPI003170
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From:               TMOfficialNotices@USPTO.GOV
Sent:               Saturday, June 4, 2011 00:11 AM
To:                 jdpilegal@jdpi.com
Subject:            Trademark Serial Number 85018906 : Official USPTO Notice of Approval of Extension Request


                            NOTICE OF APPROVAL OF EXTENSION REQUEST

Serial Number: 85-018,906
Mark: JACK DANIEL JACK DANIEL(STYLIZED/DESIGN)
Owner: Jack Daniel's Properties, Inc.
Extension Request Number: 1
Reference Number: 18125
Notice of Allowance Date: Dec 28, 2010


The USPTO issued a Notice of Allowance on Dec 28, 2010 for the trademark application identified above. Applicant's FIRST
request for Extension of Time to File a Statement of Use has been GRANTED.


PLEASE NOTE:


 1. Applicant must continue to file extension requests every six (6) months calculated from the date the Notice of Allowance
    was issued until a Statement of Use is filed, or the USPTO will hold the application abandoned.
 2. Applicant may only request a total of five (5) extensions of time.
 3. Applicant may NOT file a Statement of Use more than thirty-six (36) months from the date the Notice of Allowance was
    issued.


For further information, including information on filing and maintenance requirements for U.S. trademark applications and
registrations and required fees, please consult the USPTO website at www.uspto.gov or call the Trademark Assistance Center
at 1-800-786-9199.


To check the status of an application, go to http://tarr.uspto.gov/.




                                                                                                                   JDPI003171
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                                 Trademark Snap Shot ITU Unit Action
                                    (Table presents the data on ITU Unit Action)



                                                 OVERVIEW
SERIAL NUMBER                        85018906              FILING DATE                           04/20/2010

REG NUMBER                            0000000              REG DATE                                 N/A

REGISTER                            PRINCIPAL              MARK TYPE                            TRADEMARK

INTL REG #                                N/A              INTL REG DATE                            N/A

TM ATTORNEY                      WILLIS, PAMELA Y          L.O. ASSIGNED                            106



                                             PUB INFORMATION
RUN DATE                     06/04/2011

PUB DATE                     11/02/2010

STATUS                       730-FIRST EXTENSION - GRANTED

STATUS DATE                  06/03/2011

LITERAL MARK ELEMENT         JACK DANIEL JACK DANIEL


DATE ABANDONED                            N/A              DATE CANCELLED                           N/A

SECTION 2F                                NO               SECTION 2F IN PART                       NO

SECTION 8                                 NO               SECTION 8 IN PART                        NO

SECTION 15                                NO               REPUB 12C                                N/A

RENEWAL FILED                             NO               RENEWAL DATE                             N/A

DATE AMEND REG                            N/A



                                                FILING BASIS
             FILED BASIS                        CURRENT BASIS                              AMENDED BASIS

1 (a)                      NO        1 (a)                         NO              1 (a)                  NO

1 (b)                      YES       1 (b)                        YES              1 (b)                  NO

44D                        NO        44D                           NO              44D                    NO

44E                        NO        44E                           NO              44E                    NO

66A                        NO        66A                           NO

NO BASIS                   NO        NO BASIS                      NO



                                                MARK DATA
STANDARD CHARACTER MARK                                    NO

LITERAL MARK ELEMENT                                       JACK DANIEL JACK DANIEL



                                                                                                           JDPI003172
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MARK DRAWING CODE                                      3-AN ILLUSTRATION DRAWING WHICH INCLUDES
                                                       WORD(S)/LETTER(S)/NUMBER(S)

COLOR DRAWING FLAG                                     NO



                                  CURRENT OWNER INFORMATION
PARTY TYPE                                             20-OWNER AT PUBLICATION

NAME                                                   Jack Daniel's Properties, Inc.

ADDRESS                                                Suite 528
                                                       4040 Civic Center Drive
                                                       San Rafael, CA 94903

ENTITY                                                 03-CORPORATION

CITIZENSHIP                                            Delaware



                                          GOODS AND SERVICES
INTERNATIONAL CLASS                                    033

       DESCRIPTION TEXT                                Alcoholic beverages, namely, distilled spirits




                             GOODS AND SERVICES CLASSIFICATION
INTERNATIONAL 033                FIRST USE    NONE       FIRST USE NONE                  CLASS          6-ACTIVE
CLASS                            DATE                    IN                              STATUS
                                                         COMMERCE
                                                         DATE



                      MISCELLANEOUS INFORMATION/STATEMENTS
CHANGE IN REGISTRATION                                 NO

COLORS CLAIMED STATEMENT                               Color is not claimed as a feature of the mark.

DESCRIPTION OF MARK                                    The mark consists of the three-dimensional configuration of
                                                       the square shaped bottle container for the goods, having an
                                                       embossed ridge or scalloped design on the neck portion of
                                                       the bottle, and an embossed signature design comprised of
                                                       the words "JACK DANIEL".

NAME/PORTRAIT DESC/CONSENT                             The name(s), portrait(s), and/or signature(s) shown in the
                                                       mark does not identify a particular living individual.



                                       PROSECUTION HISTORY
DATE                  ENT CD         ENT      DESCRIPTION                                                 ENT NUM
                                    TYPE

06/04/2011            EXRA            E       NOTICE OF APPROVAL OF EXTENSION REQUEST E-                      021
                                              MAILED

06/03/2011            EX1G            S       EXTENSION 1 GRANTED                                             020

05/30/2011             EXT1           S       EXTENSION 1 FILED                                               019

06/02/2011                AITU        A       CASE ASSIGNED TO INTENT TO USE PARALEGAL                        018


                                                                                                          JDPI003173
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05/30/2011         EEXT     I    TEAS EXTENSION RECEIVED                                   017

12/28/2010         NOAM     E    NOA E-MAILED - SOU REQUIRED FROM APPLICANT                016

11/02/2010         NPUB     E    NOTICE OF PUBLICATION E-MAILED                            015

11/02/2010         PUBO     A    PUBLISHED FOR OPPOSITION                                  014

09/24/2010         PREV     O    LAW OFFICE PUBLICATION REVIEW COMPLETED                   013

09/22/2010         ALIE     A    ASSIGNED TO LIE                                           012

09/15/2010         CNSA     P    APPROVED FOR PUB - PRINCIPAL REGISTER                     011

09/14/2010         TEME     I    TEAS/EMAIL CORRESPONDENCE ENTERED                         010

09/14/2010         CRFA     I    CORRESPONDENCE RECEIVED IN LAW OFFICE                     009

09/14/2010         TROA     I    TEAS RESPONSE TO OFFICE ACTION RECEIVED                   008

08/03/2010         GNRN     O    NOTIFICATION OF NON-FINAL ACTION E-MAILED                 007

08/03/2010         GNRT     F    NON-FINAL ACTION E-MAILED                                 006

08/03/2010         CNRT     R    NON-FINAL ACTION WRITTEN                                  005

07/28/2010         DOCK     D    ASSIGNED TO EXAMINER                                      004

04/27/2010         MDSC     O    NOTICE OF DESIGN SEARCH CODE MAILED                       003

04/26/2010         NWOS     I    NEW APPLICATION OFFICE SUPPLIED DATA ENTERED              002
                                 IN TRAM

04/23/2010         NWAP     I    NEW APPLICATION ENTERED IN TRAM                           001



                    CURRENT CORRESPONDENCE INFORMATION
ATTORNEY                                  David S. Gooder

CORRESPONDENCE ADDRESS                    DAVID S. GOODER
                                          JACK DANIEL'S PROPERTIES, INC.
                                          4040 CIVIC CENTER DR STE 528
                                          SAN RAFAEL, CA 94903-4191

DOMESTIC REPRESENTATIVE                   NONE



                          PRIOR OWNER INFORMATION
PARTY TYPE                                10-ORIGINAL APPLICANT

NAME                                      Jack Daniel's Properties, Inc.

ADDRESS                                   Suite 528
                                          4040 Civic Center Drive
                                          San Rafael, CA 94903

ENTITY                                    03-CORPORATION

CITIZENSHIP                               Delaware




                                                                                      JDPI003174
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                                                                      JDPI003175
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PTO Form 1581 (Rev 9/2005)
OMB No. 0651-0054 (Exp. 09/30/2011)


                                             SOU Extension Request
                                           (15 U.S.C. Section 1051(d))


                                      The table below presents the data as entered.

                             Input Field                                     Entered
         SERIAL NUMBER                               85018906
         LAW OFFICE ASSIGNED                         LAW OFFICE 106
         MARK SECTION
         OWNER SECTION (current)
         NAME                                        Jack Daniel's Properties, Inc.
         STREET                                      Suite 528
         CITY                                        San Rafael
         STATE                                       California
         ZIP/POSTAL CODE                             94903
         COUNTRY                                     United States
         PHONE                                       415-446-5225
         FAX                                         415-446-5230
         EMAIL                                       jdpilegal@jdpi.com
         OWNER SECTION (proposed)
         NAME                                        Jack Daniel's Properties, Inc.
         STREET                                      4040 Civic Center Drive, Suite 528
         CITY                                        San Rafael
         STATE                                       California
         ZIP/POSTAL CODE                             94903
         COUNTRY                                     United States
         PHONE                                       415-446-5225
         FAX                                         415-446-5230
         EMAIL                                       jdpilegal@jdpi.com


                                                                                                     JDPI003176
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GOODS AND/OR SERVICES SECTION
INTERNATIONAL CLASS        033
CURRENT IDENTIFICATION     Alcoholic beverages, namely, distilled spirits
GOODS OR SERVICES          KEEP ALL LISTED
EXTENSION SECTION
EXTENSION NUMBER           1
ALLOWANCE MAIL DATE        12/28/2010
STATEMENT OF USE           NO
PAYMENT SECTION
NUMBER OF CLASSES          1
SUBTOTAL AMOUNT            150
TOTAL AMOUNT               150
SIGNATURE SECTION
SIGNATURE                  /David S. Gooder/
SIGNATORY'S NAME           David S. Gooder
SIGNATORY'S POSITION       Chief Trademark Counsel
DATE SIGNED                05/30/2011
FILING INFORMATION
SUBMIT DATE                Mon May 30 17:11:50 EDT 2011
                           USPTO/ESU-12.154.100.33-2
                           0110530171150246193-85018
TEAS STAMP                 906-4801279a7148a9246b12e
                           a7598848171d6b-DA-7204-20
                           110530170808124800




                                                                             JDPI003177
           Case 2:14-cv-02057-SMM         Document 224-2         Filed 10/19/17       Page 36 of 68

PTO Form 1581 (Rev 9/2005)
OMB No. 0651-0054 (Exp. 09/30/2011)




                                         SOU Extension Request
                                       (15 U.S.C. Section 1051(d))
To the Commissioner for Trademarks:

MARK: JACK DANIEL JACK DANIEL (stylized and/or with design)
SERIAL NUMBER: 85018906

The applicant, Jack Daniel's Properties, Inc., having an address of
   4040 Civic Center Drive, Suite 528
   San Rafael, California 94903
   United States
requests a six-month extension of time to file the Statement of Use under 37 C.F.R. Section 2.89 in this
application. The Notice of Allowance mailing date was 12/28/2010.

For International Class 033:
Current identification: Alcoholic beverages, namely, distilled spirits

The applicant has a continued bona fide intention to use or use through the applicant's related company or
licensee the mark in commerce on or in connection with all of the goods and/or services listed in the
Notice of Allowance or as subsequently modified for this specific class.




This is the first extension request.


A fee payment in the amount of $150 will be submitted with the form, representing payment for 1 class.


                                                Declaration

The undersigned, being hereby warned that willful false statements and the like so made are punishable by
fine or imprisonment, or both, under 18 U.S.C. Section 1001, and that such willful false statements may
jeopardize the validity of the form or any resulting registration, declares that he/she is properly authorized
to execute this form on behalf of the applicant; he/she believes the applicant to be the owner of the
trademark/service mark sought to be registered; and that all statements made of his/her own knowledge
are true; and that all statements made on information and belief are believed to be true.


Signature: /David S. Gooder/     Date Signed: 05/30/2011
Signatory's Name: David S. Gooder
Signatory's Position: Chief Trademark Counsel



                                                                                                   JDPI003178
      Case 2:14-cv-02057-SMM       Document 224-2      Filed 10/19/17   Page 37 of 68


RAM Sale Number: 7204
RAM Accounting Date: 05/31/2011

Serial Number: 85018906
Internet Transmission Date: Mon May 30 17:11:50 EDT 2011
TEAS Stamp: USPTO/ESU-12.154.100.33-2011053017115024
6193-85018906-4801279a7148a9246b12ea7598
848171d6b-DA-7204-20110530170808124800




                                                                                   JDPI003179
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                                                                     JDPI003180
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From:               TMOfficialNotices@USPTO.GOV
Sent:               Tuesday, December 28, 2010 00:06 AM
To:                 jdpilegal@jdpi.com
Subject:            Trademark Serial Number 85018906: Official USPTO Notice of Allowance




                                          NOTICE OF ALLOWANCE (NOA)

                                              ISSUE DATE: Dec 28, 2010

Serial Number: 85-018,906
Mark: JACK DANIEL JACK DANIEL(STYLIZED/DESIGN)
Attorney Reference Number: 18125


No opposition was filed for this published application. The issue date of this NOA establishes the due date for the
filing of a Statement of Use (SOU) or a Request for Extension of Time to file a Statement of Use (Extension Request).
 WARNING: An SOU that meets all legal requirements must be filed before a registration certificate can issue. Please
read below for important information regarding the applicant's pending six (6) month deadline.


SIX (6)-MONTH DEADLINE: Applicant has six (6) MONTHS from the NOA issue date to file either:
 - An SOU, if the applicant is using the mark in commerce (required even if the applicant was using the mark at the time of
   filing the application, if use basis was not specified originally); OR
 - An Extension Request, if the applicant is not yet using the mark in commerce. If an Extension Request is filed, a new
   request must be filed every six (6) months until the SOU is filed. The applicant may file a total of five (5) extension
   requests. WARNING: An SOU may not be filed more than thirty-six (36) months from when the NOA issued. The deadline
   for filing is always calculated from the issue date of the NOA.


How to file SOU and/or Extension Request:
Use the Trademark Electronic Application System (TEAS). Do NOT reply to this e-mail, as e-mailed filings will NOT be
processed. Both the SOU and Extension Request have many legal requirements, including fees and verified statements;
therefore, please use the USPTO forms available online at http://www.uspto.gov/teas/index.html (under the "INTENT-TO-USE
(ITU) FORMS" category) to avoid the possible omission of required information. If you have questions about this notice, please
contact the Trademark Assistance Center at 1-800-786-9199.


For information on how to (1) divide an application; (2) delete goods/services (or entire class) with a Section 1(b) basis; or (3)
change filing basis, see http://www.uspto.gov/trademarks/basics/MoreInfo_SOU_EXT.jsp.


FAILURE TO FILE A REQUIRED DOCUMENT OUTLINED ABOVE DURING THE APPROPRIATE TIME PERIOD WILL
RESULT IN THE ABANDONMENT OF THIS APPLICATION.



                                  REVIEW APPLICATION INFORMATION FOR ACCURACY


If you believe this NOA should not have issued or correction of the information shown below is needed, you must submit a
request to the Intent-to-Use Unit. Please use the "Post-Publication Amendment" form under the "POST-PUBLICATION/POST
NOTICE OF ALLOWANCE (NOA) FORMS" category, available at http://www.uspto.gov/teas/index.html. Do NOT reply to this
e-mail, as e-mailed filings will NOT be processed.


Serial Number:                                85-018,906
Mark:                                         JACK DANIEL JACK DANIEL(STYLIZED/DESIGN)
Attorney Reference Number:                    18125
Owner:                                        Jack Daniel's Properties, Inc.
                                              Suite 528


                                                                                                                         JDPI003181
         Case 2:14-cv-02057-SMM                   Document 224-2              Filed 10/19/17           Page 40 of 68

                                              4040 Civic Center Drive
                                              San Rafael , CALIFORNIA 94903
Correspondence Address:                       DAVID S. GOODER
                                              JACK DANIEL'S PROPERTIES, INC.
                                              4040 CIVIC CENTER DR STE 528
                                              SAN RAFAEL, CA 94903-4191


        Section 1(a): NO                Section 1(b): YES                Section 44(e): NO


                                       GOODS/SERVICES BY INTERNATIONAL CLASS


033 -      Alcoholic beverages, namely, distilled spirits -- FIRST USE DATE: NONE; -- USE IN COMMERCE DATE: NONE



                                  ALL OF THE GOODS/SERVICES IN EACH CLASS ARE LISTED.




Fraudulent statements may result in registration being cancelled: Applicants must ensure that statements made in filings
to the USPTO are accurate, as inaccuracies may result in the cancellation of any issued trademark registration. The lack of a
bona fide intention to use the mark with ALL goods and/or services listed in an application or the lack of actual use on all goods
and/or services for which use is claimed could jeopardize the validity of the registration, possibly resulting in its cancellation.


Additional information: For information on filing and maintenance requirements for U.S. trademark applications and
registrations and required fees, please consult the USPTO website at www.uspto.gov or call the Trademark Assistance Center
at 1-800-786-9199.


Checking status: To check the status of an application, go to http://tarr.uspto.gov. Please check the status of any application
at least every three (3) months after the application filing date.




                                                                                                                       JDPI003182
        Case 2:14-cv-02057-SMM                    Document 224-2               Filed 10/19/17          Page 41 of 68


From:               TMOfficialNotices@USPTO.GOV
Sent:               Tuesday, November 2, 2010 01:26 AM
To:                 jdpilegal@jdpi.com
Subject:            Official USPTO Notice of Publication: Serial Number 85018906


                                              NOTICE OF PUBLICATION

Serial Number: 85-018,906
Mark: JACK DANIEL JACK DANIEL(SYTLIZED/DESIGN)
International Class(es): 033
Applicant: Jack Daniel's Properties, Inc.
Attorney Reference Number: 18125


The mark identified above has been published in the Trademark Official Gazette (OG) on Nov 02, 2010. Any party who
believes it will be damaged by the registration of the mark may file a notice of opposition (or extension of time therefor) with the
Trademark Trial and Appeal Board. If no party files an opposition or extension request within thirty (30) days after the
publication date, then within twelve (12) weeks of the publication date a notice of allowance (NOA) should issue. (Note: The
applicant must file a Statement of Use or Extension Request within six (6) months after the NOA issues.)


On the publication date or shortly thereafter, the applicant should carefully review the information that appears in the OG for
accuracy (see steps, below). If any information is incorrect, the applicant should immediately email the requested correction to
TMPostPubQuery@uspto.gov. For general information about this notice, please contact the Trademark Assistance Center at
1-800-786-9199.


1. Click on the following link or paste the URL into an internet browser:
http://www.uspto.gov/web/trademarks/tmog/20101102_OG.pdf#page=1
2. Wait for the total OG to download completely (as indicated on bottom of OG page).
3. At the top/side of the displayed page, click wherever the "binoculars" icon appears.
4. Enter in the "search" box the name of the applicant (for individual: last name, first name) or the serial number in this exact
format (with hyphen and comma): 85-018,906, e.g.
5. View the retrieved result(s). If multiple results appear in the "results" box, click directly on each "search term" shown in the
box to access all separate appearances in the OG.




                                                                                                                        JDPI003183
        Case 2:14-cv-02057-SMM                 Document 224-2         Filed 10/19/17           Page 42 of 68



                     Trademark Snap Shot Publication & Issue Review Stylesheet
                           (Table presents the data on Publication & Issue Review Complete)



                                                  OVERVIEW
SERIAL NUMBER                         85018906              FILING DATE                             04/20/2010

REG NUMBER                             0000000              REG DATE                                   N/A

REGISTER                              PRINCIPAL             MARK TYPE                              TRADEMARK

INTL REG #                                N/A               INTL REG DATE                              N/A

TM ATTORNEY                        WILLIS, PAMELA Y         L.O. ASSIGNED                              106



                                               PUB INFORMATION
RUN DATE                     09/25/2010

PUB DATE                     N/A

STATUS                       681-PUBLICATION/ISSUE REVIEW COMPLETE

STATUS DATE                  09/24/2010

LITERAL MARK ELEMENT         JACK DANIEL JACK DANIEL


DATE ABANDONED                            N/A               DATE CANCELLED                             N/A

SECTION 2F                                NO                SECTION 2F IN PART                         NO

SECTION 8                                 NO                SECTION 8 IN PART                          NO

SECTION 15                                NO                REPUB 12C                                  N/A

RENEWAL FILED                             NO                RENEWAL DATE                               N/A

DATE AMEND REG                            N/A



                                                 FILING BASIS
             FILED BASIS                          CURRENT BASIS                               AMENDED BASIS

1 (a)                      NO          1 (a)                       NO            1 (a)                       NO

1 (b)                      YES         1 (b)                       YES           1 (b)                       NO

44D                        NO          44D                         NO            44D                         NO

44E                        NO          44E                         NO            44E                         NO

66A                        NO          66A                         NO

NO BASIS                   NO          NO BASIS                    NO



                                                  MARK DATA
STANDARD CHARACTER MARK                                     NO

LITERAL MARK ELEMENT                                        JACK DANIEL JACK DANIEL



                                                                                                              JDPI003184
       Case 2:14-cv-02057-SMM                Document 224-2       Filed 10/19/17           Page 43 of 68

MARK DRAWING CODE                                      3-AN ILLUSTRATION DRAWING WHICH INCLUDES
                                                       WORD(S)/LETTER(S)/NUMBER(S)

COLOR DRAWING FLAG                                     NO



                                  CURRENT OWNER INFORMATION
PARTY TYPE                                             10-ORIGINAL APPLICANT

NAME                                                   Jack Daniel's Properties, Inc.

ADDRESS                                                Suite 528
                                                       4040 Civic Center Drive
                                                       San Rafael, CA 94903

ENTITY                                                 03-CORPORATION

CITIZENSHIP                                            Delaware



                                          GOODS AND SERVICES
INTERNATIONAL CLASS                                    033

       DESCRIPTION TEXT                                Alcoholic beverages, namely, distilled spirits




                             GOODS AND SERVICES CLASSIFICATION
INTERNATIONAL 033                FIRST USE    NONE       FIRST USE NONE                  CLASS          6-ACTIVE
CLASS                            DATE                    IN                              STATUS
                                                         COMMERCE
                                                         DATE



                      MISCELLANEOUS INFORMATION/STATEMENTS
CHANGE IN REGISTRATION                                 NO

COLORS CLAIMED STATEMENT                               Color is not claimed as a feature of the mark.

DESCRIPTION OF MARK                                    The mark consists of the three-dimensional configuration of
                                                       the square shaped bottle container for the goods, having an
                                                       embossed ridge or scalloped design on the neck portion of
                                                       the bottle, and an embossed signature design comprised of
                                                       the words "JACK DANIEL".

NAME/PORTRAIT DESC/CONSENT                             The name(s), portrait(s), and/or signature(s) shown in the
                                                       mark does not identify a particular living individual.



                                          PROSECUTION HISTORY
DATE                  ENT CD         ENT      DESCRIPTION                                                 ENT NUM
                                    TYPE

09/24/2010            PREV            O       LAW OFFICE PUBLICATION REVIEW COMPLETED                         013

09/22/2010                ALIE        A       ASSIGNED TO LIE                                                 012

09/15/2010            CNSA            P       APPROVED FOR PUB - PRINCIPAL REGISTER                           011

09/14/2010            TEME            I       TEAS/EMAIL CORRESPONDENCE ENTERED                               010



                                                                                                          JDPI003185
      Case 2:14-cv-02057-SMM   Document 224-2     Filed 10/19/17    Page 44 of 68

09/14/2010         CRFA    I    CORRESPONDENCE RECEIVED IN LAW OFFICE               009

09/14/2010         TROA    I    TEAS RESPONSE TO OFFICE ACTION RECEIVED             008

08/03/2010         GNRN    O    NOTIFICATION OF NON-FINAL ACTION E-MAILED           007

08/03/2010         GNRT    F    NON-FINAL ACTION E-MAILED                           006

08/03/2010         CNRT    R    NON-FINAL ACTION WRITTEN                            005

07/28/2010         DOCK    D    ASSIGNED TO EXAMINER                                004

04/27/2010         MDSC    O    NOTICE OF DESIGN SEARCH CODE MAILED                 003

04/26/2010         NWOS    I    NEW APPLICATION OFFICE SUPPLIED DATA ENTERED        002
                                IN TRAM

04/23/2010         NWAP    I    NEW APPLICATION ENTERED IN TRAM                     001



                    CURRENT CORRESPONDENCE INFORMATION
ATTORNEY                                 David S. Gooder

CORRESPONDENCE ADDRESS                   DAVID S. GOODER
                                         JACK DANIEL'S PROPERTIES, INC.
                                         4040 CIVIC CENTER DR STE 528
                                         SAN RAFAEL, CA 94903-4191

DOMESTIC REPRESENTATIVE                  NONE




                                                                               JDPI003186
Case 2:14-cv-02057-SMM   Document 224-2   Filed 10/19/17   Page 45 of 68




                                                                      JDPI003187
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                                 Trademark Snap Shot Publication Stylesheet
                                    (Table presents the data on Publication Approval)



                                                   OVERVIEW
SERIAL NUMBER                          85018906              FILING DATE                         04/20/2010

REG NUMBER                              0000000              REG DATE                               N/A

REGISTER                              PRINCIPAL              MARK TYPE                          TRADEMARK

INTL REG #                                 N/A               INTL REG DATE                          N/A

TM ATTORNEY                        WILLIS, PAMELA Y          L.O. ASSIGNED                          106



                                                PUB INFORMATION
RUN DATE                     09/16/2010

PUB DATE                     N/A

STATUS                       680-APPROVED FOR PUBLICATON

STATUS DATE                  09/15/2010

LITERAL MARK ELEMENT         JACK DANIEL JACK DANIEL


DATE ABANDONED                             N/A               DATE CANCELLED                         N/A

SECTION 2F                                 NO                SECTION 2F IN PART                     NO

SECTION 8                                  NO                SECTION 8 IN PART                      NO

SECTION 15                                 NO                REPUB 12C                              N/A

RENEWAL FILED                              NO                RENEWAL DATE                           N/A

DATE AMEND REG                             N/A



                                                  FILING BASIS
             FILED BASIS                           CURRENT BASIS                           AMENDED BASIS

1 (a)                      NO           1 (a)                        NO            1 (a)                  NO

1 (b)                      YES          1 (b)                        YES           1 (b)                  NO

44D                        NO           44D                          NO            44D                    NO

44E                        NO           44E                          NO            44E                    NO

66A                        NO           66A                          NO

NO BASIS                   NO           NO BASIS                     NO



                                                   MARK DATA
STANDARD CHARACTER MARK                                      NO

LITERAL MARK ELEMENT                                         JACK DANIEL JACK DANIEL



                                                                                                           JDPI003188
       Case 2:14-cv-02057-SMM              Document 224-2       Filed 10/19/17           Page 47 of 68

MARK DRAWING CODE                                    3-AN ILLUSTRATION DRAWING WHICH INCLUDES
                                                     WORD(S)/LETTER(S)/NUMBER(S)

COLOR DRAWING FLAG                                   NO



                                CURRENT OWNER INFORMATION
PARTY TYPE                                           10-ORIGINAL APPLICANT

NAME                                                 Jack Daniel's Properties, Inc.

ADDRESS                                              Suite 528
                                                     4040 Civic Center Drive
                                                     San Rafael, CA 94903

ENTITY                                               03-CORPORATION

CITIZENSHIP                                          Delaware



                                        GOODS AND SERVICES
INTERNATIONAL CLASS                                  033

       DESCRIPTION TEXT                              Alcoholic beverages, namely, distilled spirits




                          GOODS AND SERVICES CLASSIFICATION
INTERNATIONAL 033              FIRST USE    NONE       FIRST USE NONE                  CLASS          6-ACTIVE
CLASS                          DATE                    IN                              STATUS
                                                       COMMERCE
                                                       DATE



                      MISCELLANEOUS INFORMATION/STATEMENTS
CHANGE IN REGISTRATION                               NO

COLORS CLAIMED STATEMENT                             Color is not claimed as a feature of the mark.

DESCRIPTION OF MARK                                  The mark consists of the three-dimensional configuration of
                                                     the square shaped bottle container for the goods, having an
                                                     embossed ridge or scalloped design on the neck portion of
                                                     the bottle, and an embossed signature design comprised of
                                                     the words JACK DANIEL.

NAME/PORTRAIT DESC/CONSENT                           The name(s), portrait(s), and/or signature(s) shown in the
                                                     mark does not identify a particular living individual.



                                        PROSECUTION HISTORY
DATE                  ENT CD       ENT      DESCRIPTION                                                 ENT NUM
                                  TYPE

09/15/2010            CNSA          P       APPROVED FOR PUB - PRINCIPAL REGISTER                           011

09/14/2010            TEME          I       TEAS/EMAIL CORRESPONDENCE ENTERED                               010

09/14/2010            CRFA          I       CORRESPONDENCE RECEIVED IN LAW OFFICE                           009

09/14/2010            TROA          I       TEAS RESPONSE TO OFFICE ACTION RECEIVED                         008



                                                                                                        JDPI003189
      Case 2:14-cv-02057-SMM   Document 224-2     Filed 10/19/17    Page 48 of 68

08/03/2010         GNRN    O    NOTIFICATION OF NON-FINAL ACTION E-MAILED           007

08/03/2010         GNRT    F    NON-FINAL ACTION E-MAILED                           006

08/03/2010         CNRT    R    NON-FINAL ACTION WRITTEN                            005

07/28/2010         DOCK    D    ASSIGNED TO EXAMINER                                004

04/27/2010         MDSC    O    NOTICE OF DESIGN SEARCH CODE MAILED                 003

04/26/2010         NWOS    I    NEW APPLICATION OFFICE SUPPLIED DATA ENTERED        002
                                IN TRAM

04/23/2010         NWAP    I    NEW APPLICATION ENTERED IN TRAM                     001



                    CURRENT CORRESPONDENCE INFORMATION
ATTORNEY                                 David S. Gooder

CORRESPONDENCE ADDRESS                   DAVID S. GOODER
                                         JACK DANIEL'S PROPERTIES, INC.
                                         4040 CIVIC CENTER DR STE 528
                                         SAN RAFAEL, CA 94903-4191

DOMESTIC REPRESENTATIVE                  NONE




                                                                               JDPI003190
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                                                                      JDPI003191
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                   Trademark Snap Shot Amendment & Mail Processing Stylesheet
                           (Table presents the data on Amendment & Mail Processing Complete)



                                                    OVERVIEW
SERIAL NUMBER                           85018906            FILING DATE                            04/20/2010

REG NUMBER                               0000000            REG DATE                                  N/A

REGISTER                                PRINCIPAL           MARK TYPE                             TRADEMARK

INTL REG #                                  N/A             INTL REG DATE                             N/A

TM ATTORNEY                          WILLIS, PAMELA Y       L.O. ASSIGNED                             106



                                                 PUB INFORMATION
RUN DATE                       09/15/2010

PUB DATE                       N/A

STATUS                         661-RESPONSE AFTER NON-FINAL-ACTION-ENTERED

STATUS DATE                    09/14/2010

LITERAL MARK ELEMENT           JACK DANIEL JACK DANIEL


DATE ABANDONED                              N/A             DATE CANCELLED                            N/A

SECTION 2F                                  NO              SECTION 2F IN PART                        NO

SECTION 8                                   NO              SECTION 8 IN PART                         NO

SECTION 15                                  NO              REPUB 12C                                 N/A

RENEWAL FILED                               NO              RENEWAL DATE                              N/A

DATE AMEND REG                              N/A



                                                   FILING BASIS
             FILED BASIS                            CURRENT BASIS                         AMENDED BASIS

1 (a)                       NO           1 (a)                      NO          1 (a)                       NO

1 (b)                      YES           1 (b)                     YES          1 (b)                       NO

44D                         NO           44D                        NO          44D                         NO

44E                         NO           44E                        NO          44E                         NO

66A                         NO           66A                        NO

NO BASIS                    NO           NO BASIS                   NO



                                                    MARK DATA
STANDARD CHARACTER MARK                                     NO

LITERAL MARK ELEMENT                                        JACK DANIEL JACK DANIEL



                                                                                                            JDPI003192
       Case 2:14-cv-02057-SMM              Document 224-2       Filed 10/19/17           Page 51 of 68

MARK DRAWING CODE                                    3-AN ILLUSTRATION DRAWING WHICH INCLUDES
                                                     WORD(S)/LETTER(S)/NUMBER(S)

COLOR DRAWING FLAG                                   NO



                                CURRENT OWNER INFORMATION
PARTY TYPE                                           10-ORIGINAL APPLICANT

NAME                                                 Jack Daniel's Properties, Inc.

ADDRESS                                              Suite 528
                                                     4040 Civic Center Drive
                                                     San Rafael, CA 94903

ENTITY                                               03-CORPORATION

CITIZENSHIP                                          Delaware



                                        GOODS AND SERVICES
INTERNATIONAL CLASS                                  033

       DESCRIPTION TEXT                              Alcoholic beverages, namely, distilled spirits




                          GOODS AND SERVICES CLASSIFICATION
INTERNATIONAL 033              FIRST USE    NONE       FIRST USE NONE                  CLASS          6-ACTIVE
CLASS                          DATE                    IN                              STATUS
                                                       COMMERCE
                                                       DATE



                      MISCELLANEOUS INFORMATION/STATEMENTS
CHANGE IN REGISTRATION                               NO

COLORS CLAIMED STATEMENT                             Color is not claimed as a feature of the mark.

DESCRIPTION OF MARK                                  The mark consists of the three-dimensional configuration of
                                                     the square shaped bottle container for the goods, having an
                                                     embossed ridge or scalloped design on the neck portion of
                                                     the bottle, and an embossed signature design comprised of
                                                     the words JACK DANIEL.

NAME/PORTRAIT DESC/CONSENT                           The name(s), portrait(s), and/or signature(s) shown in the
                                                     mark does not identify a particular living individual.



                                        PROSECUTION HISTORY
DATE                  ENT CD       ENT      DESCRIPTION                                                 ENT NUM
                                  TYPE

09/14/2010            TEME          I       TEAS/EMAIL CORRESPONDENCE ENTERED                               010

09/14/2010            CRFA          I       CORRESPONDENCE RECEIVED IN LAW OFFICE                           009

09/14/2010            TROA          I       TEAS RESPONSE TO OFFICE ACTION RECEIVED                         008

08/03/2010            GNRN          O       NOTIFICATION OF NON-FINAL ACTION E-MAILED                       007



                                                                                                        JDPI003193
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08/03/2010         GNRT    F    NON-FINAL ACTION E-MAILED                           006

08/03/2010         CNRT    R    NON-FINAL ACTION WRITTEN                            005

07/28/2010         DOCK    D    ASSIGNED TO EXAMINER                                004

04/27/2010         MDSC    O    NOTICE OF DESIGN SEARCH CODE MAILED                 003

04/26/2010         NWOS    I    NEW APPLICATION OFFICE SUPPLIED DATA ENTERED        002
                                IN TRAM

04/23/2010         NWAP    I    NEW APPLICATION ENTERED IN TRAM                     001



                    CURRENT CORRESPONDENCE INFORMATION
ATTORNEY                                 David S. Gooder

CORRESPONDENCE ADDRESS                   DAVID S. GOODER
                                         JACK DANIEL'S PROPERTIES, INC.
                                         4040 CIVIC CENTER DR STE 528
                                         SAN RAFAEL, CA 94903-4191

DOMESTIC REPRESENTATIVE                  NONE




                                                                               JDPI003194
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                                                                      JDPI003195
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PTO Form 1957 (Rev 9/2005)
OMB No. 0651-0050 (Exp. 04/30/2011)


                                            Response to Office Action


                                      The table below presents the data as entered.

                        Input Field                                            Entered
 SERIAL NUMBER                                      85018906
 LAW OFFICE ASSIGNED                                LAW OFFICE 106
 MARK SECTION (no change)
 ADDITIONAL STATEMENTS SECTION
 NAME(S), PORTRAITS(S), SIGNATURE(S)                The name(s), portrait(s), and/or signature(s) shown in the
 OF INDIVIDUAL(S)                                   mark does not identify a particular living individual.
                                                    The mark consists of the three-dimensional configuration of
                                                    the square shaped bottle container for the goods, having an
 DESCRIPTION OF THE MARK
 (and Color Location, if applicable)                embossed ridge or scalloped design on the neck portion of the
                                                    bottle, and an embossed signature design comprised of the
                                                    words JACK DANIEL.
 SIGNATURE SECTION
 RESPONSE SIGNATURE                                 /David S. Gooder/
 SIGNATORY'S NAME                                   David S. Gooder
 SIGNATORY'S POSITION                               Chief Trademark Counsel
 DATE SIGNED                                        09/14/2010
 AUTHORIZED SIGNATORY                               YES
 FILING INFORMATION SECTION
 SUBMIT DATE                                        Tue Sep 14 14:22:21 EDT 2010
                                                    USPTO/ROA-12.154.100.33-2
                                                    0100914142221641984-85018
 TEAS STAMP                                         906-470ed43cd863f6adc8a2d
                                                    e4d52da419c824-N/A-N/A-20
                                                    100914141736666389




PTO Form 1957 (Rev 9/2005)




                                                                                                         JDPI003196
           Case 2:14-cv-02057-SMM         Document 224-2         Filed 10/19/17      Page 55 of 68

OMB No. 0651-0050 (Exp. 04/30/2011)




                           Response to Office Action
To the Commissioner for Trademarks:

Application serial no. 85018906 has been amended as follows:

ADDITIONAL STATEMENTS
Name(s), Portrait(s), Signature(s) of individual(s)
The name(s), portrait(s), and/or signature(s) shown in the mark does not identify a particular living
individual.

Description of mark
The mark consists of the three-dimensional configuration of the square shaped bottle container for the
goods, having an embossed ridge or scalloped design on the neck portion of the bottle, and an embossed
signature design comprised of the words JACK DANIEL.

SIGNATURE(S)
Response Signature
Signature: /David S. Gooder/ Date: 09/14/2010
Signatory's Name: David S. Gooder
Signatory's Position: Chief Trademark Counsel

The signatory has confirmed that he/she is an attorney who is a member in good standing of the bar of the
highest court of a U.S. state, which includes the District of Columbia, Puerto Rico, and other federal
territories and possessions; and he/she is currently the applicant's attorney or an associate thereof; and to
the best of his/her knowledge, if prior to his/her appointment another U.S. attorney or a Canadian
attorney/agent not currently associated with his/her company/firm previously represented the applicant in
this matter: (1) the applicant has filed or is concurrently filing a signed revocation of or substitute power
of attorney with the USPTO; (2) the USPTO has granted the request of the prior representative to
withdraw; (3) the applicant has filed a power of attorney appointing him/her in this matter; or (4) the
applicant's appointed U.S. attorney or Canadian attorney/agent has filed a power of attorney appointing
him/her as an associate attorney in this matter.


Serial Number: 85018906
Internet Transmission Date: Tue Sep 14 14:22:21 EDT 2010
TEAS Stamp: USPTO/ROA-12.154.100.33-2010091414222164
1984-85018906-470ed43cd863f6adc8a2de4d52
da419c824-N/A-N/A-20100914141736666389




                                                                                                   JDPI003197
        Case 2:14-cv-02057-SMM            Document 224-2       Filed 10/19/17   Page 56 of 68



To:              Jack Daniel's Properties, Inc. (jdpilegal@jdpi.com)
Subject:         U.S. TRADEMARK APPLICATION NO. 85018906 - JACK DANIEL
                 JACK DANIEL - 18125
Sent:            8/3/2010 10:39:19 AM
Sent As:         ECOM106@USPTO.GOV
Attachments:

               UNITED STATES PATENT AND TRADEMARK OFFICE (USPTO)
      OFFICE ACTION (OFFICIAL LETTER) ABOUT APPLICANT’S TRADEMARK APPLICATION

   APPLICATION SERIAL NO.              85/018906

   MARK: JACK DANIEL JACK DANIEL
                                                         *85018906*
   CORRESPONDENT ADDRESS:
     DAVID S. GOODER                                     CLICK HERE TO RESPOND TO THIS LETTER:
     JACK DANIEL'S PROPERTIES, INC.                      http://www.uspto.gov/teas/eTEASpageD.htm
     4040 CIVIC CENTER DR STE 528
     SAN RAFAEL, CA 94903-4191

   APPLICANT:           Jack Daniel's Properties, Inc.

  CORRESPONDENT’S REFERENCE/DOCKET
 NO:
     18125
  CORRESPONDENT E-MAIL ADDRESS:
     jdpilegal@jdpi.com


                                           OFFICE ACTION

        STRICT DEADLINE TO RESPOND TO THIS LETTER
TO AVOID ABANDONMENT OF APPLICANT’S TRADEMARK APPLICATION, THE USPTO MUST
RECEIVE APPLICANT’S COMPLETE RESPONSE TO THIS LETTER WITHIN 6 MONTHS OF THE
ISSUE/MAILING DATE BELOW.

ISSUE/MAILING DATE: 8/3/2010

The referenced application has been reviewed by the assigned trademark examining attorney. Applicant
must respond timely and completely to the issues below. 15 U.S.C. §1062(b); 37 C.F.R. §§2.62(a),
2.65(a); TMEP §§711, 718.03.

Search for References

The trademark examining attorney has searched the Office’s database of registered and pending marks


                                                                                            JDPI003198
        Case 2:14-cv-02057-SMM             Document 224-2          Filed 10/19/17       Page 57 of 68


and has found no conflicting marks that would bar registration under Trademark Act Section 2(d). TMEP
§704.02; see 15 U.S.C. §1052(d).

Description of Mark

The description of the mark is accurate but incomplete because it does not describe all the significant
aspects of the applied-for mark. Applications for marks not in standard characters must include an
accurate and concise description of the entire mark that identifies literal elements as well as any design
elements. See 37 C.F.R. §2.37; TMEP §§808 et seq.

Therefore, applicant must provide a more complete description of the applied-for mark. The following is
suggested:

   The mark consists of the three-dimensional configuration of the square shaped bottle container
   for the goods, having an embossed ridge or scalloped design on the neck portion of the bottle,
   and an embossed signature design comprised of the words "JACK DANIEL".


Advisory: Possible Functionality Refusal

Applicant is advised that, upon consideration of an allegation of use, registration may be refused on the
ground that the applied-for mark, as used on the specimen of record, is a functional design of packaging
for the identified goods. Trademark Act Section 2(e)(5), 15 U.S.C. §1052(e)(5); see TMEP §1202.02(a)-
(a)(ii), (d). A feature is functional if it is “essential to the use or purpose of the [product]” or “it affects
the cost or quality of the [product].” TrafFix Devices, Inc. v. Mktg. Displays, Inc., 532 U.S. 23, 33, 58
USPQ2d 1001, 1006 (2001); Qualitex Co. v. Jacobson Prods. Co., 514 U.S. 159, 165, 34 USPQ2d 1161,
1163-64 (1995); TMEP §1202.02(a)(iii)(A).

AND

Applicant is advised that, upon consideration of an allegation of use, registration may be refused on the
ground that the applied-for mark, as used on the specimen of record, is a nondistinctive configuration of
packaging for the goods that is not registrable on the Principal Register without sufficient proof of
acquired distinctiveness. Trademark Act Sections 1, 2 and 45, 15 U.S.C. §§1051-1052, 1127; see In re
Mogen David Wine Corp., 372 F.2d 539, 152 USPQ 593 (C.C.P.A. 1967); In re McIlhenny Co., 278 F.2d
953, 126 USPQ 138 (C.C.P.A. 1960); In re J. Kinderman & Sons, Inc., 46 USPQ2d 1253 (TTAB 1998);
TMEP §1202.02(b)(ii), (d).

Response Guidelines

There is no required format or form for responding to an Office action. The Office recommends
applicants use the Trademark Electronic Application System (TEAS) to respond to Office actions online at
http://www.uspto.gov/teas/index.html. However, if applicant responds on paper via regular mail, the
response should include the title “Response to Office Action” and the following information: (1) the
name and law office number of the examining attorney, (2) the serial number and filing date of the
application, (3) the mailing date of this Office action, (4) applicant’s name, address, telephone number
and e-mail address (if applicable), and (5) the mark. 37 C.F.R. §2.194(b)(1); TMEP §302.03(a).

The response must be personally signed or the electronic signature manually entered by applicant or


                                                                                                       JDPI003199
        Case 2:14-cv-02057-SMM             Document 224-2         Filed 10/19/17       Page 58 of 68


someone with legal authority to bind applicant (i.e., a corporate officer of a corporate applicant, the
equivalent of an officer for unincorporated organizations or limited liability company applicants, a general
partner of a partnership applicant, each applicant for applications with multiple individual applicants).
TMEP §§605.02, 712.




                                                /Pamela Y. Willis/
                                                Trademark Examining Attorney
                                                U.S. Patent & Trademark Office
                                                Law Office 106
                                                Tel: 571.272.9335
                                                pam.willis1@uspto.gov



TO RESPOND TO THIS LETTER: Use the Trademark Electronic Application System (TEAS)
response form at http://teasroa.uspto.gov/roa/. Please wait 48-72 hours from the issue/mailing date before
using TEAS, to allow for necessary system updates of the application. For technical assistance with
online forms, e-mail TEAS@uspto.gov.

WHO MUST SIGN THE RESPONSE: It must be personally signed by an individual applicant
or someone with legal authority to bind an applicant (i.e., a corporate officer, a general partner, all joint
applicants). If an applicant is represented by an attorney, the attorney must sign the response.

PERIODICALLY CHECK THE STATUS OF THE APPLICATION: To ensure that applicant does
not miss crucial deadlines or official notices, check the status of the application every three to four months
using Trademark Applications and Registrations Retrieval (TARR) at http://tarr.uspto.gov/. Please keep a
copy of the complete TARR screen. If TARR shows no change for more than six months, call 1-800-786-
9199. For more information on checking status, see http://www.uspto.gov/trademarks/process/status/.

TO UPDATE CORRESPONDENCE/E-MAIL ADDRESS: Use the TEAS form at
http://www.uspto.gov/teas/eTEASpageE.htm.




                                                                                                      JDPI003200
        Case 2:14-cv-02057-SMM            Document 224-2         Filed 10/19/17   Page 59 of 68



To:                Jack Daniel's Properties, Inc. (jdpilegal@jdpi.com)
Subject:           U.S. TRADEMARK APPLICATION NO. 85018906 - JACK DANIEL
                   JACK DANIEL - 18125
Sent:              8/3/2010 10:39:24 AM
Sent As:           ECOM106@USPTO.GOV
Attachments:



       IMPORTANT NOTICE REGARDING YOUR TRADEMARK
                      APPLICATION

Your trademark application (Serial No. 85018906) has been reviewed. The
examining attorney assigned by the United States Patent and Trademark Office
(“USPTO”) has written a letter (an “Office action”) on 8/3/2010 to which you must
respond (unless the Office letter specifically states that no response is required).
Please follow these steps:

1.       Read         the       Office        letter       by         clicking    on      this link
http://tmportal.uspto.gov/external/portal/tow?DDA=Y&serial_number=85018906&doc_type=OOA&mail_date=
OR go to http://tmportal.uspto.gov/external/portal/tow and enter your serial number to access the
Office letter. If you have difficulty accessing the Office letter, contact TDR@uspto.gov.

PLEASE NOTE: The Office letter may not be immediately available but will be viewable within 24
hours of this e-mail notification.

2. Contact the examining attorney who reviewed your application if you have any questions about the
content of the Office letter (contact information appears at the end thereof).

3. Respond within 6 months, calculated from 8/3/2010 (or sooner if specified in the Office letter), using
the Trademark Electronic Application System (TEAS) Response to Office Action form. If you have
difficulty using TEAS, contact TEAS@uspto.gov.

                                                     ALERT:
Failure to file any required response by the applicable deadline will result in the ABANDONMENT
(loss) of your application.

Do NOT hit “Reply” to this e-mail notification, or otherwise attempt to e-mail your response, as the
USPTO does NOT accept e-mailed responses.




                                                                                               JDPI003201
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*** User:pwillis1 ***
 #    Total         Dead         Live        Live     Status/       Search
      Marks        Marks         Viewed      Viewed   Search
                                 Docs        Images   Duration
01    1            0             1           1        0:01          85018906[SN]
02    7370         N/A           0           0        0:01          *jack*[bi,ti]
03    1032         N/A           0           0        0:01          *daniel*[bi,ti]
04    2793         N/A           0           0        0:02          190903[DC]
05    2            0             2           2        0:01          2 and 3 and 4
06    1820         N/A           0           0        0:02          4 and "033"[cc]
07    831          N/A           0           0        0:02          4 and ("033" a b "200")[ic]
08    448          0             4           448      0:04          7 not dead[ld]
09    0            0             0           0        0:01          "square shaped bottle"[dm]
10    6            2             4           4        0:02          "square shaped bottle"[de]
11    167          N/A           0           0        0:01          2 and 3
12    112          0             112         91       0:03          11 not dead[ld]


Session started 8/3/2010 10:05:04 AM
Session finished 8/3/2010 10:13:55 AM
Total search duration 0 minutes 21 seconds
Session duration 8 minutes 51 seconds
Defaut NEAR limit=1ADJ limit=1



Sent to TICRS as Serial Number: 85018906




                                                                                                  JDPI003202
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From:              TMDesignCodeComments
Sent:              Tuesday, April 27, 2010 00:16 AM
To:                jdpilegal@jdpi.com
Subject:           Notice of Design Search Code for Serial Number: 85018906

ATTORNEY REFERENCE                    18125
NUMBER:



The USPTO may assign design search codes, as appropriate, to new applications and renewed registrations to assist in
searching the USPTO database for conflicting marks. They have no legal significance and will not appear on the registration
certificate.

DESIGN SEARCH CODES are numerical codes assigned to figurative, non-textual elements found in marks. For example, if
your mark contains the design of a flower, design search code 05.05 would be assigned to your application. Design search
codes are described on Internet Web page http://www.uspto.gov/tmdb/dscm/index.html.

Response to this notice is not required; however, to suggest additions or changes to the design search code(s) assigned to
your mark, please e-mail TMDesignCodeComments@USPTO.GOV. You must reference your application serial number within
your request. The USPTO will review the proposal and update the record, if appropriate. For questions, please call 1-800-
786-9199 to speak to a Customer Service representative.

The USPTO will not send any further response to your e-mail. Check TESS in approximately two weeks to see if the
requested changes have been entered. Requests deemed unnecessary or inappropriate will not be entered.

Design search codes assigned to the referenced serial number are listed below.




                                                                                                                  JDPI003203
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PTO Form 1478 (Rev 9/2006)
OMB No. 0651-0009 (Exp 12/31/2011)


          Trademark/Service Mark Application, Principal Register
                                                   Serial Number: 85018906
                                                   Filing Date: 04/20/2010


                                      The table below presents the data as entered.

                                     Input Field                                   Entered
         SERIAL NUMBER                                         85018906
         MARK INFORMATION
                                                               \\TICRS\EXPORT10\IMAGEOUT
         *MARK
                                                               10\850\189\85018906\xml1\ APP0002.JPG
         SPECIAL FORM                                          YES
         USPTO-GENERATED IMAGE                                 NO
         LITERAL ELEMENT                                       JACK DANIEL
         COLOR MARK                                            NO
                                                               The mark consists of the configuration of the
                                                               square shaped bottle container for the goods,
         *DESCRIPTION OF THE MARK                              having an embossed ridge or scalloped design
         (and Color Location, if applicable)                   on the neck portion of the bottle, and an
                                                               embossed signature design comprised of the
                                                               words "JACK DANIEL".
         PIXEL COUNT ACCEPTABLE                                YES
         PIXEL COUNT                                           318 x 910
         REGISTER                                              Principal
         APPLICANT INFORMATION
         *OWNER OF MARK                                        Jack Daniel's Properties, Inc.
         INTERNAL ADDRESS                                      Suite 528
         *STREET                                               4040 Civic Center Drive
         *CITY                                                 San Rafael
         *STATE
         (Required for U.S. applicants)
                                                               California

         *COUNTRY                                              United States
         *ZIP/POSTAL CODE

                                                                                                        JDPI003204
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(Required for U.S. applicants only)
                                               94903

PHONE                                          415-446-5225
FAX                                            415-446-5230
EMAIL ADDRESS                                  jdpilegal@jdpi.com
LEGAL ENTITY INFORMATION
TYPE                                           corporation
STATE/COUNTRY OF INCORPORATION                 Delaware
GOODS AND/OR SERVICES AND BASIS INFORMATION
INTERNATIONAL CLASS                            033
*IDENTIFICATION                                Alcoholic beverages, namely, distilled spirits
FILING BASIS                                   SECTION 1(b)
ADDITIONAL STATEMENTS SECTION
                                               The name(s), portrait(s), and/or signature(s)
NAME(S), PORTRAITS(S), SIGNATURE(S) OF
INDIVIDUAL(S)                                  shown in the mark does not identify a
                                               particular living individual.
ATTORNEY INFORMATION
NAME                                           David S. Gooder
ATTORNEY DOCKET NUMBER                         18125
FIRM NAME                                      Jack Daniel's Properties, Inc.
INTERNAL ADDRESS                               Suite 528
STREET                                         4040 Civic Center Drive
CITY                                           San Rafael
STATE                                          California
COUNTRY                                        United States
ZIP/POSTAL CODE                                94903
PHONE                                          415-446-5225
FAX                                            415-446-5230
EMAIL ADDRESS                                  jdpilegal@jdpi.com
AUTHORIZED TO COMMUNICATE VIA EMAIL            Yes
CORRESPONDENCE INFORMATION
NAME                                           David S. Gooder


                                                                                          JDPI003205
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FIRM NAME                             Jack Daniel's Properties, Inc.
INTERNAL ADDRESS                      Suite 528
STREET                                4040 Civic Center Drive
CITY                                  San Rafael
STATE                                 California
COUNTRY                               United States
ZIP/POSTAL CODE                       94903
PHONE                                 415-446-5225
FAX                                   415-446-5230
EMAIL ADDRESS                         jdpilegal@jdpi.com
AUTHORIZED TO COMMUNICATE VIA EMAIL   Yes
FEE INFORMATION
NUMBER OF CLASSES                     1
FEE PER CLASS                         325
*TOTAL FEE DUE                        325
*TOTAL FEE PAID                       325
SIGNATURE INFORMATION
SIGNATURE                             /David S. Gooder/
SIGNATORY'S NAME                      David S. Gooder
SIGNATORY'S POSITION                  Chief Trademark Counsel
DATE SIGNED                           04/20/2010




                                                                              JDPI003206
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PTO Form 1478 (Rev 9/2006)
OMB No. 0651-0009 (Exp 12/31/2011)




                             Trademark/Service Mark Application, Principal Register

                                             Serial Number: 85018906
                                             Filing Date: 04/20/2010
To the Commissioner for Trademarks:
MARK: JACK DANIEL (stylized and/or with design, see mark)

The literal element of the mark consists of JACK DANIEL.
The mark consists of the configuration of the square shaped bottle container for the goods, having an
embossed ridge or scalloped design on the neck portion of the bottle, and an embossed signature design
comprised of the words "JACK DANIEL".
The applicant, Jack Daniel's Properties, Inc., a corporation of Delaware, having an address of
    Suite 528,
    4040 Civic Center Drive
    San Rafael, California 94903
    United States
requests registration of the trademark/service mark identified above in the United States Patent and
Trademark Office on the Principal Register established by the Act of July 5, 1946 (15 U.S.C. Section 1051
et seq.), as amended, for the following:

For specific filing basis information for each item, you must view the display within the Input Table.
      International Class 033: Alcoholic beverages, namely, distilled spirits
Intent to Use: The applicant has a bona fide intention to use or use through the applicant's related company
or licensee the mark in commerce on or in connection with the identified goods and/or services. (15
U.S.C. Section 1051(b)).


The name(s), portrait(s), and/or signature(s) shown in the mark does not identify a particular living
individual.

The applicant's current Attorney Information:
David S. Gooder of Jack Daniel's Properties, Inc.

   Suite 528
   4040 Civic Center Drive
   San Rafael, California 94903
   United States
The attorney docket/reference number is 18125.

The applicant's current Correspondence Information:
   David S. Gooder
   Jack Daniel's Properties, Inc.


                                                                                                  JDPI003207
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    Suite 528
    4040 Civic Center Drive
    San Rafael, California 94903
    415-446-5225(phone)
    415-446-5230(fax)
    jdpilegal@jdpi.com (authorized)

A fee payment in the amount of $325 has been submitted with the application, representing payment for 1
class(es).

                                                 Declaration

The undersigned, being hereby warned that willful false statements and the like so made are punishable by
fine or imprisonment, or both, under 18 U.S.C. Section 1001, and that such willful false statements, and
the like, may jeopardize the validity of the application or any resulting registration, declares that he/she is
properly authorized to execute this application on behalf of the applicant; he/she believes the applicant to
be the owner of the trademark/service mark sought to be registered, or, if the application is being filed
under 15 U.S.C. Section 1051(b), he/she believes applicant to be entitled to use such mark in commerce;
to the best of his/her knowledge and belief no other person, firm, corporation, or association has the right
to use the mark in commerce, either in the identical form thereof or in such near resemblance thereto as to
be likely, when used on or in connection with the goods/services of such other person, to cause confusion,
or to cause mistake, or to deceive; and that all statements made of his/her own knowledge are true; and
that all statements made on information and belief are believed to be true.


Signature: /David S. Gooder/ Date Signed: 04/20/2010
Signatory's Name: David S. Gooder
Signatory's Position: Chief Trademark Counsel



RAM Sale Number: 6155
RAM Accounting Date: 04/21/2010

Serial Number: 85018906
Internet Transmission Date: Tue Apr 20 22:39:12 EDT 2010
TEAS Stamp: USPTO/BAS-12.154.100.33-2010042022391214
0551-85018906-460f7396de6bfcf98153214ec9
b4da36b27-DA-6155-20100420222750390696




                                                                                                    JDPI003208
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                                                                      JDPI003210
